Case 6:14-cv-01583-GAP-GJK Document 1 Filed 09/29/14 Page 1 of 6 PageID 1




                                        6:14-cv-1583-Orl-31GJK
Case 6:14-cv-01583-GAP-GJK Document 1 Filed 09/29/14 Page 2 of 6 PageID 2
Case 6:14-cv-01583-GAP-GJK Document 1 Filed 09/29/14 Page 3 of 6 PageID 3
Case 6:14-cv-01583-GAP-GJK Document 1 Filed 09/29/14 Page 4 of 6 PageID 4
Case 6:14-cv-01583-GAP-GJK Document 1 Filed 09/29/14 Page 5 of 6 PageID 5
Case 6:14-cv-01583-GAP-GJK Document 1 Filed 09/29/14 Page 6 of 6 PageID 6
